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                             Exhibit 9
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Fri, Apr 26, 2024 at 12:27 PM
  Subject: BruinALERT: Campus Activity Updates (Friday, April 26th)
  To:                                  <                                     >

  BruinALERT: The encampment demonstration that formed early yesterday morning
  (Thursday, April 25) remains in Royce Quad today.

  To date, the activity has been mostly peaceful. We continue to actively monitor this situation
  to support a safe and peaceful campus environment that respects our entire community’s
  right to free expression while minimizing disruption to our teaching and learning mission.

  At this time, the same access restrictions to Royce Hall and Powell Library remain in place
  and students should be prepared to show their Bruin Card for entry into these buildings.
  While in the area, you may also hear helicopter activity that is associated with the news
  media covering the demonstration.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




                       SHEMUELIAN DECLARATION EXHIBIT 9
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